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         11

         12                                 UNITED STATES DISTRICT COURT

         13                             NORTHERN DISTRICT OF CALIFORNIA

         14

         15   WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
              and FACEBOOK, INC., a Delaware
         16   corporation,                                   DECLARATION OF NITIN GUPTA IN
                                                             SUPPORT OF WHATSAPP’S MOTION TO
         17                                                  DISQUALIFY BASED ON PRIOR
                              Plaintiffs,                    REPRESENTATION IN A SEALED MATTER
         18
                    v.                                       Date:      May 20, 2020
         19                                                  Time:      9:00 a.m.
              NSO GROUP TECHNOLOGIES LIMITED                 Courtroom: 3, 3rd Floor
         20   and Q CYBER TECHNOLOGIES LIMITED,              Judge:     Hon. Phyllis J. Hamilton

         21                   Defendants.

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                                                                                          NITIN GUPTA DECL.
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                                                        1.                       CASE NO. 4:19-CV-07123-PJH
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